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B 210A (Form 210A) (12/09)



                         UNITED STATES BANKRUPTCY COURT
                                                SouthernDistrict
                                            __________   District Of
                                                                  of Indiana
                                                                      __________
      David Robert
In re ________________________________,
       O'Flynn and Pamela Sue O'Flynn                                                             Case No. ________________
                                                                                                            12-13117-RLM-13




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.
                                                                       Wilmington Trust National Association, as Successor
                                                                          Trustee to Citibank, N.A. as Trustee for Bear
                                                                          Stearsns Second Lien Trust 2007-SV1, Mortgage-
  Ocwen Loan Servicing, LLC
______________________________________                                       Backed Certificates, Series 2007-SV1
                                                                            ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):    14-1
should be sent:                                                             Amount of Claim:       $35,347.18
  Attn: Bankruptcy Department                                               Date Claim Filed:      05/13/2013
  1661 Worthington Road, Suite 100
 West Palm Beach, FL 33409

         800-850-4622
Phone: ______________________________                                       Phone:
Last Four Digits of Acct #: ______________
                                  833                                       Last Four Digits of Acct. #: __________
                                                                                                             833

Name and Address where transferee payments
should be sent (if different from above):



Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:__________________________________
    /s/ Stephen K. Andrews                                                  Date:____________________________
                                                                                  06/04/2014
         Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
